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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LONTEX CORPORATION                                  Civil Action No. 2:18-cv-05623-MMB

                    Plaintiff,                      Hon. Michael Baylson

        v.

NIKE, INC.,

                    Defendant.


   PLAINTIFF LONTEX CORPORATION’S BRIEF ON EVIDENCE OF COOL AND
        COMPRESSION PURSUANT TO PRETRIAL ORDER [ECF NO. 254]



                 Portion Filed Under Seal Pursuant to Stipulated Protective Order




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        The Court’s Pretrial Order provides “any evidence regarding Plaintiff or Nike’s clothing

or advertisements, etc. will be strictly limited to those items that use the words ‘cool

compression’ unseparated by other words, unless either party can show that any other usage is

relevant to an issue in the case in which event briefs on this issue shall be filed by July 9.”

        Plaintiff Lontex Corporation (“Sweat It Out”) hereby submits the following brief

respectfully requesting that the Court allow the jury to consider evidence of Nike and its retailers

using the mark in a confusingly similar manner with abbreviations or separation between the

words Cool and Compression, such as “Cool 6” Compression” or “CL COMP.”

        First, even if these variants were the only accused marks at issue in this case, such

product mark usages are still relevant instances of infringement for the jury to determine, given

the Third Circuit law on the breadth of marks similar enough to warrant jury determination.

        Second, these variations were also part and parcel of many of the infringing “Cool

Compression” uses, making them further relevant to infringement. For example, Nike initially

sold products to retailers in its catalog using “Cl Comp” abbreviated due to text limits, and the

retailers then turned around and (just as expected) sold using the full “Cool Compression” name.

        Third, details as to the use by Nike of the term “Cool” (as is “Nike Pro Cool”) is relevant

to provide basic context for both infringement and fair use and should be allowed in moderation.

I.      TRADEMARK INFRINGEMENT IS A FACT-SENSITIVE INQUIRY OF
        CONFUSINGLY SIMILAR USE, NOT IDENTICAL USE

        Use of “Cool” in product names without any variation of “Compression” has never been

asserted as infringing by Sweat It Out in this case, as confirmed at the March 2020 omnibus

hearing. But product names using abbreviations of “Cool Compression,” or keeping the two

words in sequence but including content between the two words, have always been asserted and

are relevant to the case Lontex is presenting to the jury:




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              Dkt. 203-19 at NIKE-00045072 and NIKE-00045075




                                                                               For the jury




                                                                               For the jury




                                                                             Not asserted as

                                                                                infringing




        Limiting evidence at trial of Nike’s infringement to only “cool compression,” when

unseparated by other words or unabbreviated, would erroneously limit Sweat It Out to evidence

of identical trademark usage by Nike. Trademark infringement does not require identicality,

even where the senior user’s mark is a composite (two-word) mark. “The degree of resemblance

necessary to constitute a likelihood of confusion is incapable of exact general definition. One

thing is very clear: ‘exact similitude is not required’ between the allegedly confusing marks.” 4

McCarthy on Trademarks and Unfair Competition § 23:20 (5th ed.) (citations omitted). “To find

trademark infringement only by exact identity and not where the junior user makes some slight

modification would ‘be in effect to reward the cunning infringer and punish only the bumbling


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one.’” Id. (quoting T & T Mfg. Co. v. A. T. Cross Co., 449 F. Supp. 813, 822 (D.R.I.), aff’d, 587

F.2d 533 (1st Cir. 1978)).

        The substantive law of the Third Circuit and the procedural rulings similarly provide that

“[t]he marks need not be identical, only confusingly similar,” and the more similar the goods, the

less similarity in the marks is needed to prove likely confusion. Country Floors, Inc. v. Gepner,

930 F.2d 1056, 1063 (3d Cir. 1994) (issue of fact whether “Country Floors” and “Country Tiles”

logos confusingly similar); see also Sabinsa Corp. v. Creative Compounds, LLC, 609 F.3d 175,

183-184 (3d Cir. 2010) (clear error not to weigh “ForsLean” and “Forsthin” in the senior user’s

favor); John M. Middleton, Inc. v. Swisher Int’l, Inc., 2006 U.S. Dist. LEXIS 51484, *9 (E.D.

Penn. Jul. 26, 2006) (issue of fact whether BlackStone Mile and Black & Mild were confusingly

similar).

        That such marks in Country Floors, Sabninsa, and John M Middleton were either

required to be put before a jury for determination, or determined in the senior user’s favor, means

that if Lontex wishes to pursue at trial the variations of “Cool Compression” that either

abbreviate or include minimal content in between, such uses are relevant to its infringement case

and should be presented to the jury for determination.

        The Court will note that Lontex has pursued such variations as relevant to its

infringement claim from its very first filing in this case. See Dkt. Nos. 1 & 20 at ¶20 (Complaint

and FAC listing “Nike Pro Cool 6” Compression Shirt” amongst six specifically-identified

infringing products). Nike’s goods are highly similar to Sweat It Out’s, and while Nike has made

identical use of “cool compression” alongside its house mark, it has also made other confusingly

similar uses with abbreviations and minor separations of the words cool and compression.

Whether this is infringement remains a question of fact for the jury. See Country Floors, Inc.,




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930 F.2d at 1063 (“a number of key factual questions remain, not least among them the

likelihood of confusion”); Steak Umm Co., LLC v. Steak ‘Em Up, Inc., 2011 WL 3679155, at *7

(E.D. Pa. Aug. 23, 2011) (holding “the fact-heavy nature” of the likely confusion inquiry

precluded summary judgment); see also Dkt. 234 at 23 (“the likelihood of confusion analysis in a

trademark case is a fact-intensive inquiry”).

         Accordingly, Sweat It Out should be allowed to present evidence allowing the jury a

complete factual overview, consistent with long-established authority, of Nike’s various uses of

the words cool and compression both included in some fashion in the product name, including

abbreviations and separations of those words. Denying Sweat It Out the opportunity to present

such evidence would constitute an unwarranted encumbrance of its right to have the jury

consider Nike’s broad and extensive flooding of the market with various uses of COOL

COMPRESSION and the proper measure of damages for those overwhelming uses.

II.      THE COURT SHOULD NOT EXCLUDE NIKE’S USAGE OF ABBREVIATIONS
         FOR “COOL” AND “COMPRESSION”

         While the Court order limits evidence to the words “cool compression,” there is no

dispute that Nike used abbreviations as shorthand to convey the phrase “cool compression.”

Specifically, Nike admits that its “catalogs used abbreviations ‘cl’ for ‘cool’ and ‘comp’ for

‘compression’.” Dkt. 192, ¶ 165. Nike provided catalogs and similar materials to retail

associates to educate them about the availability and features of Nike’s cool compression

products. See, e.g., Dkt. 203-56, ¶ 5.

         The fact that Nike used abbreviations of “cool compression” does not absolve it of

liability for trademark infringement. Nike’s corporate designee admitted that for compression fit

Nike “                                                                                    ” See




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Johnson Depo. 101:13-16.1 The evidence at trial will show that retailers and retail associates

understood such materials to mean, as Nike admits, “cool compression.” Indeed, this type of

important documentary evidence corroborates witness testimony that Nike “coached” employees

to use “cool compression” to refer to a product line of compression apparel. See, e.g., Dkt. 203-

56, ¶ 4. Similarly, retailers understood from Nike’s abbreviations and turned around to publicly

advertise these products for sale under the unabbreviated “cool compression” name. See, e.g.,

Dkt. 203-26 at LTX_EDPA_00024577 (“Men’s Nike Cool Compression Tops, Tights and

Shorts”); Dkt. 203-27 at LTX_EDPA_00013424.

         The jury should not be denied this type of evidence on Nike’s usage of abbreviations of

the COOL COMPRESSION mark. See, e.g., Coca-Cola Co. v. Busch, 44 F. Supp. 405, 410

(E.D. Pa. 1942) (holding abbreviated use of registered mark to be infringing). And even if the

jury decides that Nike’s usage of abbreviations such as “cl comp” is not independently

infringing, it is undisputedly a proxy for Nike’s usage of “cool compression.” It is therefore

important evidence for the jury to consider in weighing the full scope and manner in which Nike

infringed Sweat It Out’s mark, e.g. Sweat It Out’s Third Count for Contributory Trademark

Infringement based on Nike’s contribution to its retailers selling Nike’s product using the full

“Cool Compression” product name.

III.     THE COURT SHOULD NOT EXCLUDE NIKE’S USES OF “COOL”
         FOLLOWED BY “COMPRESSION” WITH MINOR CONTENT INSERTED IN
         BETWEEN

         As set forth above, trademark infringement requires only confusingly similar usage, and

therefore Nike cannot necessarily avoid infringement by merely adding a word between “cool”

and “compression.” The addition of generic information, such as size 6”, does nothing


1
 Lontex has not included the transcript as an exhibit in view of the Court’s preference not to receive additional
exhibits at this time, but is prepared to submit the exhibit upon request.



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meaningful to obviate the strong similarity of Nike’s use of these terms on the same types of

goods as Sweat It Out. See Advance Magazine Publishers Inc. v. Vogue Int’l, 123 F. Supp. 2d

790, 796 (D.N.J. 2000) (“The use of a precisely similar name is not required for a finding of

trademark infringement under Sections 32 and 43(a) of the Lanham Act.”); GFC Fin. Corp. v.

GFC Capital Res. Grp., Inc., No. 93 CIV. 8001 (PKL), 1994 WL 30432, at *1 (S.D.N.Y. Feb. 2,

1994) (“[T]he addition of descriptive terms to a distinctive mark generally does not significantly

diminish the possibility of confusion.”).

        For example, a defendant who named their product MIRACLE SUIT was found to

infringe THE MIRACLE BRA. A&H Sportswear Co. v. Victoria's Secret Stores, Inc., 167 F.

Supp. 2d 770, 782 (E.D. Penn. 2001). Thus, the mere usage of one word (MIRACLE) from the

composite trademark (THE MIRACLE BRA) was sufficient to require a trial for the finder of

fact to determine whether there was a likelihood of confusion. See id. Similarly, a court held

that a defendant’s SLOAN 1 PINT URINAL SYSTEMS was so close to a plaintiff’s THE PINT

that “the similarity of the marks favors a finding of likelihood of confusion.” Zurco, Inc. v.

Sloan Valve Co., 785 F. Supp. 2d 476, 495 (W.D. Penn. 2011).

        As these cases demonstrate, it is sufficient to support a finding of infringement that Nike

used any portion of Sweat It Out’s COOL COMPRESSION mark. However, Sweat It Out does

not assert infringement of, for example, Nike’s usage of “cool” alone. Instead, Sweat It Out

asserts infringement only for Nike products referred to with the words “cool” and “compression”

(and in that order) regardless of whether those terms are separated. See, e.g., Dkt. 203-19 at

NIKE-00045075 (“NIKE PRO COOL 6” COMPRESSION SHORT”). Nike’s addition of

generic or minimal wording to separate “cool” from “compression” does nothing to change the

outcome of whether the evidence should be presented to the trier of fact to determine a likelihood




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of confusion. See 4 McCarthy on Trademarks and Unfair Competition § 23:50 (5th ed.) (“If a

junior user takes the entire mark of another and adds a generic, descriptive or highly suggestive

term, it is generally not sufficient to avoid confusion.”). And if it could possibly do so, it is for a

jury to determine whether the commercial impression is so broken as to avoid likely confusion.

        Further, Sweat It Out has presented evidence from which a jury may conclude that, “In

the marketplace, both companies refer to their products in conversations with customers and

advertisements as ‘cool compression.’ Ms. Likely’s declaration demonstrates that at least in

some instances, some of Nike’s products were referred to simply as ‘cool compression.’” See

Dkt. 234 at 24. Thus, even where certain of Nike’s internal documents may refer to a product

with “cool” separated from “compression,” the evidence supports a finding that those products

were part of a “cool compression” product line and that marketplace usage viewed any words

breaking up the terms as inconsequential.

        In sum, the weight of authority strongly favors Sweat It Out’s right to present to the jury

the full factual circumstances surrounding Nike’s usage of the terms “cool” and “compression.”

IV.     BOTH PARTIES AGREE “COOL” IS RELEVANT TO CONTEXT

        Nike’s briefing and own deposition designations make it clear that it intends to convey to

the jury the context of the Accused Products as falling within its “Nike Pro Cool” silo. Nike

designated Parker Mangum’s deposition testimony which explains exactly this. 2021-06-15

Nike Counter-designations citing Mangum pp. 48:13-49:22 and 166:9-14. Nike’s summary

judgment emphasized this too. E.g., Dkt. 191-1 at 52.

        If Nike is to build its theme off Nike Pro Cool and Nike Pro Warm as silos of products

within Nike Pro at a general level, but only exactly “Cool Compression” could be used in

Lontex’s presentation of the specifics, then the jury would be deprived of an entire portion of the




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story that connects Nike Pro Cool to the relevant products. Context is important here to avoid an

incomplete presentation and juror confusion.

         Further, as the Ninth Circuit has explained, when asserted infringement spans multiple

products and marketing materials, for context it is important to consider all the various ways the

junior user has made its use for purposes of considering its fair use defense at trial. Marketquest

v. BIC, 862 F.3d 927, 936 (9th Cir. 2017).

V.       CONCLUSION

         Based on the foregoing, Sweat It Out requests that it be allowed to present evidence to

the jury of Nike’s various uses of “cool” with “compression,” including abbreviations and

separations of those words. And evidence of “Cool” should be allowed sufficient to provide

context.

Dated:          July 9, 2021                       TROUTMAN PEPPER HAMILTON
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 9, 2021, a true and correct copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent via e-mail to all parties by operation of the court's electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court's CM/ECF System.



                                                /s/ Ben L. Wagner
                                                Ben L. Wagner




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